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                        IN THE UNITED STATE DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 SB IP HOLDINGS LLC,                                  §
        Plaintiff,                                    §
                                                      §
 v.                                                   §
                                                      §          Civil Action No. 4:20-cv-00886
 VIVINT SMART HOME, INC.                              §
      Defendant.                                      §          JURY TRIAL DEMANDED
                                                      §
                 UNOPPOSED MOTION FOR EXTENSION OF TIME TO
                  RESPOND TO DEFENDANT’S MOTION TO COMPEL

       Plaintiff SB IP Holdings LLC’s (“Plaintiff”) moves for an extension of time to respond to,

or otherwise oppose, Defendant Vivint Smart Home, Inc.’s (“Defendant”) Motion to Compel and

Brief in Support (Dkt. No. 128, the “Motion”). Plaintiff’s current deadline is June 28, 2022.

Plaintiff requests a 3 day extension to Friday, July 1, 2022 and a reciprocal three day extension for

Defendant’s reply to Monday, July 11.

       Given the number of substantive issues raised in Defendant’s motion and the importance

of the privilege issues at stake, Plaintiff respectfully requests a three day extension to adequately

respond. Plaintiff further requests that Defendant be provided a reciprocal three day extension to

reply to accommodate for the July 4 holiday. Plaintiff has conferred with Defendant and Defendant

does not oppose this request. This motion is not sought for the purpose of delay but so that justice

may be done.




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Dated: June 24, 2022                               Respectfully submitted,

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                                                   ATTORNEYS FOR PLAINTIFF
                                                   SB IP HOLDINGS LLC




                            CERTIFICATE OF CONFERENCE


         I hereby certify that on June 24, 2022, I conferred with opposing counsel regarding the
relief sought herein, and this Motion is UNOPPOSED. See Local R. 7.1(b).


                                                   /s/ Brian L. King
                                                   Brian L. King




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 24, 2022, I electronically filed the foregoing document with
the clerk of the court for the U.S. District Court, Eastern District of Texas, Sherman Division,
using the electronic case filing system of the court. The electronic case filing system sent a “Notice
of Electronic Filing” to the attorneys of record who have consented in writing to accept this Notice
as service of this document by electronic means.

                                                      /s/ Brian L. King
                                                      Brian L. King




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